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State of Texas In the Magistrate Court
County of Bexar Number:

Affidavit for Search Warrant

The undersigned Affiant, being a Peace Officer under the laws of the State of Texas and being duly sworn, on oath, makes the
following statements and accusations:

® There isin Bexar County, Texas, a suspected Place described as follows:

A single family residence located at 131 Arnold Dr., San Antonio Tx, 78213. The residence is a single story,
structure with tan siding and yellow trim. The numbers 131 are located on the right support post for the front
porch.

© There is in this suspected Place items constituting evidence that the offense of Smuggling of Persons , in violation

of Section 20.05 of the Penal Code of the State of Texas, has been committed, and said evidence is described as follows:

Victim's cell phones and sim cards possibly taken by suspects.

Personal paperwork and Identification documents belonging to the Victims.

Cell phones used by the suspects.

Firearms.

Ammunition.

Photographs documenting the crime scene.

Ledgers, paperwork or other documentation related to the offense of Smuggling of Persons.

Any other evidence.

Any video recordings, digital video recordings, digital recording devices, computers, computer hardware or
computer hard devices or processors in which video recordings are stored, copied or maintained upon.

© It is the belief of your Affiant that the offense of Smuggling of Persons was committed on or about the 27th day of June,
2022 in Bexar County, Texas.

© Your Affiant has probable cause for said belief by reason of the following facts:

On 06/27/22, Officers responded to a scene in the 9600 block of Quintana Rd where the bodies of several
deceased persons were located inside a tractor trailer. A witness reported seeing a silver Ford truck with "FX4"
leaving the scene.

Based on the information returned from the license plate, the tractor trailer showed to have been recently
registered to the house at 131 Arnold Dr, San Antonio, Texas 78213.

SAPD personnel went to the house at 131 Arnold Dr. and saw a silver Ford truck with "FX4" on it at the
location. The truck matched the description of the truck seen leaving the scene on Quintana Rd. Two males
were seen exiting the house at 131 Arnold Dr. and they got into the silver Ford truck and left the location. That
truck was later stopped and the occupants were detained. ,

It is believed the occupants of the truck are involved in the offense of Smuggling of Persons and the house
at 131 Arnold Dr may contain evidence related to the offense of Smuggling of Persons.

This case is being investigated under SAPD22137339.

® Your Affiant believes a search of the above described suspected Place for the above described item(s) will constitute
evidence that the offense of Smuggling of Persons was committed on or about June, 27th, 2022 in Bexar County, Texas.

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® Your Affiant further believes that the specific offense of Smuggling of Persons has been committed and that the item(s)

described above, constituting evidence to be searched for and seized, are located in the suspected Place.

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Wherefore, your Affiant asks for the issuance of a Warrant that will authorize the search of the suspected place, and the seizure
of the above described evidence.

Respectfully Submitted,
GC #2S7F

Signature of Affiant
Sworn to and subscribed before me in person Defredo MH . DAN IAG
aah
this 0-1 dayof Sau 202% _ at this Alfredo Tavera
(Date) (Month) (Year)
hour of q 2Ot a/éo.) Signature of Magistrate
Bexar County, Texas

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State of Texas In the Magistrate Court
County of Bexar Number:

Search Warrant

The State of Texas, to the Sheriff or any Peace Officer of Bexar County, Texas, or any Peace
Officer of the State of Texas,

Greetings:

Whereas the Affiant whose signature is affixed to the Affidavit attached hereto did therefore
this day subscribe and swear to said Affidavit before me, which is hereby incorporated
herein for all purposes, and whereas | find that the facts stated by the Affiant in said
Affidavit show that the Affiant has probable cause for the belief he expresses herein and
establishes the existence of proper grounds for the issuance of this Warrant.

You are now therefore commanded to proceed to:
A single family residence located at 131 Arnold Dr., San Antonio Tx, 78213. The
residence is a single story, structure with tan siding and yellow trim. The
numbers 131 are located on the right support post for the front porch.
and to enter and search said location for the following items found therein, including, but
not limited to:
Victim's cell phones and sim cards possibly taken by suspects.
Personal paperwork and Identification documents belonging to the Victims.
Cell phones used by the suspects.
Firearms.
Ammunition.
Photographs documenting the crime scene.
Ledgers, paperwork or other documentation related to the offense of
Smuggling of Persons.
Any other evidence.
Any video recordings, digital video recordings, digital recording devices,
computers, computer hardware or computer hard devices or processors in
which video recordings are stored, copied or maintained upon.
Herein fail not, but have you then and there execute this Warrant within three days,
exclusive of the day of its issuance and execution, with your return thereon, showing how
you have executed the same.

A Ld - Sia
Issued on this the Qi day of une mM
(date) mavem,) Alfreda Tavera
PM.

2OUL at the hour of _[4 a7 A
(year)

Signature of Magistrate
Bexar County, Texas

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